
PER CURIAM: *
Appealing the Judgment in a Criminal Case, David Paul Wilcox, Jr., raises arguments that are foreclosed by United States v. Scroggins, 411 F.3d 572, 576-77 (5th Cir.2005), which held that the Due Process Clause does not bar the application of Justice Breyer’s remedy opinion in United States v. Booker, 543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005), when resentencing defendants in light of Booker, and by United States v. Reinhart, 442 F.3d 857, 863 (5th Cir.2006), petition for cert. filed (June 5, 2006) (No. 05-11431), which held that the Ex Post Facto Clause does not apply to the courts. The Government’s motion for summary affirmance is GRANTED, and the judgment of the district court is AFFIRMED.

 Pursuant to 5th Cir. R. 47.5, the court has determined that this opinion should not be published and is not precedent except under the limited circumstances set forth in 5th Cir. R. 47.5.4.

